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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Action No. 15-cr-00149-RM


 UNITED STATES OF AMERICA,

        Plaintiff,                                              RESTRICTED – LEVEL 1
 v.

 1.   RAUL CARAVEO,
 2.   PAMILA LUCERO,
 3.   SABRINA CARAVEO,
 4.   EUGENE CHAVEZ,
 5.   CAROLINA ARAGON,
 6.   CRISTINA PORTILLOS,
 7.   CONRAD ARCHULETA, and
 8.   NANCY GUZMAN,

      Defendants.
 ______________________________________________________________________

                  ORDER TO RESTRICT DOCUMENT NO. 219
 ______________________________________________________________________

        This matter is before the Court on the Government=s Motion to Restrict Document

 No. 219. Upon consideration and for good cause shown,

        IT IS ORDERED that Document No. 219, attachments thereto, the Government=s

 Brief in Support of Motion to Restrict Document No. 219 , as well as any order revealing

 the contents of that document, are hereby restricted until further order by the Court.

        IT IS ORDERED that Document No. 219 shall be restricted to a ALevel 1" and will

 be Aviewable by Case Participants & Court@ only.
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      IT IS SO ORDERED on this        day of September, 2015.

                             BY THE COURT:




                             RAYMOND P. MOORE
                             UNITED STATES DISTRICT COURT
                             DISTRICT OF COLORADO




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